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                    EXHIBIT A
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Jonodev Chaudhuri, Chairman                                                                             December 11, 2017
National Indian Gaming Commission
1849 C Street Northwest
Washington, D.C. 20240
                Re: 25 C.F.R. 547.5
                Grandfathered Class II Gaming Systems
                November 12, 2017 Comment by OTGRA
We feel compelled to respond to the recent Comment presented to the NIGC by the
Oklahoma Tribal Gaming Regulators Association (OTGRA), a copy of which is attached
hereto with paragraphs added for ease of reference. We feel that the OTGRA’s Comment
is indicative of a false and disturbing narrative that has been proliferated regarding the
nature of the Minimum Technical Standards, what they hope to accomplish, and those
that stand to benefit the most from them. We hope that by reviewing some of the
OTGRA’s comments we can help to clarify to the NIGC why it has met such unexpected
resistance to the Minimum Technical Standards, and to clarify to the OTGRA why the
NIGC has tried so consistently for the past decade to implement them.
   (OTGRA ¶ 2) As the NIGC notes in addressing comments on the Discussion Draft
   (82 Fed. Reg. 45,229), “the technical standards are intended to ensure the integrity and
   security of Class II gaming and the accountability of Class II gaming revenues. OTGRA
   concurs, and observes that eliminating the sunset provision recognizes that, over the
   10-year grandfather period, no compliance issues or incidents have been reported.
We concur that the technical standards are intended to ensure the integrity and security
of Class II gaming and the accountability of Class II gaming revenues. However, we do
not follow, and are puzzled by, the OTGRA’s conclusion that allowing machines to be
exempted from most of those requirements somehow still leads to greater integrity and
security. Moreover, the Commission has itself disagreed with the OTGRA’s assertions,
stating on the Discussion Draft1 that while “grandfathered machines have, for the most
part, continued to operate with relatively few problems to the patron or the gaming

1. 77 Fed. Reg. 58,475 (Sept. 21, 2012) (codified at 25 C.F.R. pt. 547)




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operations . . . Nevertheless, lack of a major incident in the past does not mean that
the grandfathered Class II gaming systems pose no risk to patrons and the gaming
operation.” Specifically, because “a grandfathered system does not need to meet th[ese]
standard[s], there may be a risk” of vulnerabilities.
   (OTGRA ¶ 2) Further, many, if not all, of the Class II Systems in operation today have
   been subject to system modifications under the provisions of the Class II technical
   standards, which allow for modifications designed to maintain or to advance the overall
   compliance and integrity of these systems. So, under the rigorous oversight of our
   member regulators, the previously-grandfathered Class II Systems have improved their
   performance and compliance over time. The Proposed Rule, therefore, achieves the
   intent of the technical standards of “providing a means for TGRA’s and operators to
   ensure that the integrity and security of Class II games played with technologic aides
   are maintained and that the games and aids are fully auditable.” 73 Fed. Reg. 60,508,
   60,509 (Oct. 10, 2008), while recognizing important role of our member regulators.
If many, “if not all,” Grandfathered systems have indeed undergone modification and
become more compliant with the full Minimum Technical Standards, then achieving
full compliance is easier than it has ever been, negating any such need for continued
exemptions, much less permanent ones. We disagree that allowing manufacturers to
permanently halt any efforts to become fully compliant somehow “provide[s] a means”
for TGRA’s and operators “to ensure that the integrity and security of Class II games .
. . are maintained.” In fact, it does quite the opposite, instead “providing a means” for
manufacturers to permanently evade compliance with those same standards deemed by
the NIGC as necessary to “ensure the integrity and security of Class II gaming.”
As if to underline the point, the NIGC has specifically noted that Grandfathered
components are dangerous and insecure, to the point that “if a grandfathered
component is added to an otherwise fully compliant Class II gaming system, that system
ceases to be fully compliant.”2 Grandfathered components are not safe and secure, they
are a stop-gap measure on the road to compliance, not the destination.
2. 77 Fed. Reg. 58,475 (Sept. 21, 2012) (codified at 25 C.F.R. pt. 547)




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This confused line of thinking by the OTGRA and others, that the end of Grandfathering
would be harmful, continues a disturbing trend of misinformation presented to the tribes.
It appears that many, if not most, of the tribes believe that requiring that machines be
made compliant is somehow a burden upon them, instead of on manufacturers. This
feeling is so prevalent that when the NIGC asked of the tribal regulators at a recent
consultation3 what progress had been made towards bringing older machines into
compliance, the tribes did not cite a single example of progress. Instead, there was
comment after comment about how prevalent, and how vital, Grandfathered machines
remain. In fact, one chief went so far as to say that “every Class II game on the floor of
[our] Casino is a . . . grandfathered system.” His fear was that if Grandfathering were
removed, the tribe would somehow lose the games, including their “loyal customer
base,” because older games “are preferred over newer games that lack familiar look and
feel.” These fears are echoed here by the OTGRA.
Nothing could be further from the truth. The NIGC has specifically stated that “part 547
as originally enacted and as amended only requires removal if the games are not made
compliant with the testing standards for newer systems set forth in the regulation.”4
The regulations do not require that Grandfathered machines be removed, but rather
that they become fully compliant, because any machines that are not fully compliant
are not safe or secure. Grandfathering was a temporary means of easing the economic
burden of transferring to safe and secure machines, not an ad-hoc declaration that such
machines were compliant with all the rules.
Somehow certain manufacturers have convinced the tribes to take up their battle, and
are cynically using them as a front to prevent passage of rules requiring manufacturers
to provide the tribes with better and safer products. In reality, manufacturers will remain
bound by their lease agreements, and will be required to either upgrade the machines to
modern standards, or replace them with new machines.



3. National Indian Gaming Commission Consultation, March 23, 2017, Tulsa OK.
4. 82 Fed. Reg. 45,229 (Sept. 28, 2017) (to be codified at 25 C.F.R. pt. 547)




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We are careful to note that this means an upgraded or new machine, not a different
game or theme. The Minimum Technical Standards do not touch games, themes, or the
“look and feel” of a machine. They mostly regulate internal security features. Again, we
reiterate, patrons at a casino will not be able to distinguish between a Grandfathered
machine and a newer, safer, and fully compliant machine.
We also note that the OTGRA has been convinced to support exempting all records of
the modification of Grandfathered machines from Freedom of Information Act requests
(see ¶5), which would remove any means for the NIGC to ensure that manufacturers
have “improved their performance over time.” Once again, certain manufacturers have
somehow portrayed this issue to the tribes in such a way as to make them believe that
such regulatory information could be harmful to the tribe if released, rather than to the
manufacturer, and have misled the Tribal Gaming Regulatory Agencies into fighting their
battle for them.
  (OTGRA ¶ 3) The amendment to Subsection (a) also appropriately balances the
  regulatory performance of these systems and the rigorous regulatory oversight of our
  member regulators with the enormous potential economic impact of eliminating these
  systems, which total approximately 24,000 Class II Systems currently in operation,
  collectively comprising and [sic] estimated 41% of total units in play.
First, we note that there is no reference to how the OTGRA arrived at these numbers.
There are currently no public records of the number of Grandfathered machines, either
in 2008 or at the current time. In fact, without such records it is virtually impossible
to discover if Grandfathered machines are compliant with even the minimal standards
of 25 CFR 547.5(a), or even if manufacturers are producing brand new copies of the
Grandfathered gaming systems and putting them on casino floors. According to the
most recent Casino City report, in 2015 there were 31,111 Class II machines in Oklahoma.5
If we average the previous 3 years growth rate (approximately 2%) and extrapolate
to 2017, there are approximately 32,367 Class II gaming machines on casino floors

5. Casino City’s Indian Gaming Industry Report 2017, pg 60




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in Oklahoma. If the OTGRA’s numbers are to be believed, that means that 74.1% of
all Oklahoma Class II machines are Grandfathered machines subject to virtually no
regulations whatsoever, and from which the OTGRA and others now push to remain
permanently exempt.
Even taking the OTGRA’s dubious statistic that these 24,000 machines represent
only 41% of the current market as accurate, we find it damning evidence that 24,000
machines remain unsafe and insecure. Indeed, if there remain 24,000 (or possibly many
more) machines built before 2008 still in play, ten years later, it is difficult to believe that
any Grandfathered Class II games have ever been made fully compliant. Once again,
certain manufacturers have managed to paint a picture where the NIGC is the villain
putting burdens on the tribes, when in fact the NIGC is attempting to help the tribes by
requiring that manufacturers provide them with safe and secure products.
These figures are, frankly, unbelievable. In 2008 there were 18,373 Class II machines in
the state of Oklahoma total.6 Yet somehow, we now have at least 24,000 grandfathered
machines that manufacturers claim were built prior to 2008. No matter how we look
at the numbers available to us, we cannot find any way to contort the facts to avoid the
inescapable conclusion that thousands of post-2008 non-compliant “Grandfathered”
machines have been built and placed in casinos by manufacturers.
Even ignoring that outright impossibility, the conclusion remains inescapable. The
NIGC has assured Congress that the lifespan of 2008 machines is five years.7 Even
allowing that manufacturers would stretch the life of their machines literally to the
breaking point, adding another 50% to their expected life span, and even assuming
that every Grandfathered machine was built exactly on the November 10, 2008
deadline, every single one of those 24,000 Grandfathered machines would have ceased
functioning almost two years ago. Even in this best-case scenario for Grandfathered
machines, based on the data available to us have no choice but to conclude that every
Grandfathered machine has been replaced with a “new” Grandfathered machine at
least once, in disregard of the NIGC and its regulations.
6. Casino City’s Indian Gaming Industry Report 2017, pg 60
7. Hearing Before the Committee on Indian Affairs, 110-405 (2008) (Statement of NIGC Chairman Philip N. Hogen)




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We grow even more certain of this conclusion as we examine other submitted comments.
For example, Video Gaming Technologies, Inc., (VGT) a manufacturer of electronic
gaming machines, has submitted a Comment8 in which they write that the regulations
require “all systems developed after 2008” (emphasis added) to be compliant. However,
the regulations, both as already enacted and as newly proposed, actually require that all
machines “manufactured” after the deadline in 2008 be fully compliant.9 That includes
“all components, whether or not technologic aids in electronic, computer, mechanical,
or other technologic form, that function together to aid the play of one or more Class II
games, including accounting functions mandated by these regulations.”10 The difference
is key. By VGT’s interpretation, any machine approved for Grandfathered status
could have unlimited new copies of the machine produced indefinitely. In reality, the
regulations require that no new machines can be built, even if identical to Grandfathered
machines, unless they are completely compliant with the full regulations. This gives
further credence to our belief that many brand new machines have been exempted from
compliance with regulations under the creatively misconstrued belief that they qualify
as Grandfathered machines, and explains how there are more “Grandfathered” machines
now than ever existed in 2008.
We return to the NIGC Consultation to a Chief’s “great concern that vendors will not be
able to upgrade systems at every tribal casino by November 2018.” Here we see that, if
manufacturers had not been flouting the regulations and providing the casinos with non-
compliant Grandfathered machines, they would have already replaced them. Instead,
certain manufacturers continue to equivocate and threaten to pull all their machines,
while simultaneously refusing to make a single step forward towards compliance. They
are holding the tribes, the entire industry, hostage. This is why we see representatives
of tribes arguing against the very sunset provision designed to set them free. Or as one
representative put it, “It is not that we do not want to meet the grandfather issue . . . but
we are looking at it as we have gotten the corrective measures, I guess you might say,
from vendors or from one vendor . . .” And what does this mystery vendor say? Once

8. Available at https://www.nigc.gov/commission/rulemaking
9. 25 C.F.R. 547.5(a)
10. 25 C.F.R. 547.2




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again, that “it’s going to be a timeframe issue.”11 Of course, if they never move towards
compliance, they will find it impossible to meet any deadline.
If some manufacturers ignore the NIGC when asked to comply, then the NIGC must stop
asking and start requiring that manufacturers comply. Clearly nothing else will get them
to take even the smallest of steps towards full compliance.
These startling facts are, of necessity, based in part on inferences from available data.
There are, not coincidentally, no public records which list the number of Grandfathered
machines. The only way the NIGC could possibly make an informed decision regarding
regulations, particularly when relying upon the guidance of public comment, is to allow
the underlying facts to be made available to the public. Permanently exempting a
totally unknown number of machines from virtually all regulation without a shred of
evidentiary basis is the definition of arbitrary and capricious.
  (OTGRA ¶ 3) The Proposed Rule achieves the NIGC’s goal of seeking a “potential
  alternative that minimizes both the economic impact of the sunset provision and the
  risk to the gaming operation and the public of systems that are not compliant with the
  full set of technical standards.”
This has never been the goal of the NIGC. Only after ten years of hearing utterly
groundless complaints by some manufacturers has the NIGC retreated to find a
“potential alternative” to the Minimum Technical Standards. The NIGC has been clear
that compliance with the full standards is the bare minimum required to ensure that
machines are safe and secure for both the tribes and the public. It has frequently
reminded the Tribal Gaming Regulatory Agencies (TGRAs) that they are free to make
their own, higher standards that more quickly adapt to changing technology and risks.12
It is not a compromise when the manufacturers take all the gains and the tribes and the
public take all the losses.



11. National Indian Gaming Commission Consultation, March 23, 2017, Tulsa OK.

12. 12 e.g. see 25 C.F.R. pt. 547.5(a)(4) which allows TGRAs to implement higher technical standards for grandfathering. See also 25 C.F.R. pt. 547.17 which allows TGRAs to
    implement higher technical standards for non-grandfathered machines.


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  (OTGRA ¶ 3) The NIGC states that it “understand[s]…concerns over removing non-
  compliant Class II Gaming Systems from the gaming floor.” 87 FR 45229. However,
  OTGRA observes that this response appears not to fully capture the potential adverse
  impact that would have resulted from removing what have indisputably been compliant
  Class II Gaming Systems from the gaming floor in the absence of any evidence of
  integrity or performance issues.
Here the OTGRA misunderstands the facts. The NIGC has stated that the Grandfather
period exists as a temporary stay “to avoid the potentially significant economic and
practical consequences of requiring immediate compliance” (emphasis added) of
these machines that “do not meet all of the requirements of the proposed rule.”13
Grandfathered machines are instead compliant with “a specific, minimum set of
requirements” and temporarily “exempt from compliance” with the rest of the Minimum
Technical Standards.14 By no means are Grandfathered machines “indisputably . . .
compliant Class II Gaming Systems.” In fact, when the NIGC attempted to produce
a lower standard than the complete Minimum Technical Standards, “the Justice
Department came along and said to us, these aren’t tough enough; you can’t do that.”15
And again, we note that Grandfathered machines are not required to be removed,
only to be made compliant by the manufacturer, which they have had a decade to do.
Whatever the adverse impacts of removing all Grandfathered machines may be, they
are not applicable here, because the machines would only have to be removed if the
manufactures refused to update them.
  (OTGRA ¶ 4) With respect to annual audit requirements, OTGRA notes that the
  Proposed Rule subjects Class II Gaming Systems to compliance auditing that exceeds
  the industry standards for rolling compliance testing for all other gaming devices by
  a magnitude of 10. OTGRA believes that this treatment is inconsistent with the NIGC’s
  determination to remove the “grandfathered” label from Class II Systems and to
  eliminate the sunset provision, which is a recognition that these Systems are compliant.
13. 72 Fed. Reg. 60,510 (Oct. 24, 2007) (codified at 25 C.F.R. pt. 547)
14. Id.
15. Hearing Before the Committee on Indian Affairs, 110-405 (2008) (Statement of NIGC Chairman Philip N. Hogen)




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Again, the OTGRA misunderstands the facts. Annual audits are in line with, for example,
Class III games, for which gaming operations are required to maintain a complete
internal audit department, and they must annually review “all major gaming areas of
the gaming operation,”16 far in excess of the rolling compliance testing proposed by the
NIGC. The TGRAs are not even required to submit their findings to the NIGC. It would be
hard to conceive of a more toothless regulation.
Moreover, the NIGC has never determined to “remove” the Grandfathered label from pre-
2008 Class II systems. They propose to remove the end of the Grandfather provision,
thus making qualifying machines permanently Grandfathered, whatever name they
choose to call it. Again, removing the Grandfather provision makes those machines
permanently exempt from virtually all regulation. Allowing the Grandfather provision to
end as intended makes the manufacturers update their old machines and provide them
to the tribes.
   (OTGRA ¶ 4) The Proposed Rule’s annual testing and certification of pre-November 10,
   2008 Class II Gaming Systems is a significant additional administrative burden imposed
   on TGRAs, and maintains 547.5 as the only section of the technical standards in which
   TGRAs are not the primary regulatory of gaming. [sic]
A non-reported annual audit of some machines may be, technically, a burden, but it is not
a mandatory one. In the proposed regulations, each casino has the choice of whether or
not to accept a Grandfathered machine, or instead require that manufacturers provide
a fully compliant, modern machine. We also fail to see how an internal audit that does
not even have to be reported to the NIGC, much less conducted by the NIGC, in any
way undermines the authority of the TGRAs or removes them from being the primary
regulator.




16. 25 C.F.R. pt. 541.22(a)




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Furthermore, this requirement does not effectively require anything from the TGRAs,
because the OTGRA forgets that a reported annual audit is already required to be
provided to the NIGC elsewhere. Specifically, in order to provide Class II gaming at all
a TGRA must, among other things, adopt an ordinance or resolution that is approved
by the chairman of the NIGC.17 That ordinance may be approved by the chairman of
the NIGC if, among other things, it requires that “annual outside audits of the gaming
. . . be provided by the Indian tribe to the Commission.”18 We also note that even here,
the authority of the TGRAs is not undermined, because such outside audits “may be
encompassed within existing independent tribal audit systems.”19
   (OTGRA ¶ 4) Nevertheless, OTGRA appreciates the clarification at 547.5(a)(3) that this
   audit requirement will not apply to Class II gaming systems that TGRAs have determined
   meet all of the requirements of 547.5, and is confident that OTGRA members will meet
   this responsibility fully and completely, and will continue to regulate Indian Gaming in
   Oklahoma with the very highest level of professionalism.
Once again, the OTGRA misunderstands the NIGC, despite direct clarification of this
very point. The NIGC has stated that it is “clear that class II gaming systems approved
pursuant to §547.5(b) are no longer 2008 Systems” and that such annual audits
only apply to machines that comply with the much less stringent Grandfathering
requirements found in § 547.5(a).20 Of course, to meet all of the requirements of the
Grandfathering provisions a TGRA must, as the OTGRA points out, make a finding that
the system qualifies under the provisions of 547.5(a) and thus fulfilling 547.5(a)(4).
However, the TGRA must also assure that the provisions of 547.5(a)(1, 2, 3, 5, and 6) are
fulfilled.
   (OTGRA ¶ 5) Finally, OTGRA observes that the Proposed Rule continues to hedge on a
   clear statement that sensitive, confidential and proprietary information should be made
   available to but not turned over to the NIGC. The NIGC comments that “the Commission
   agrees that sensitive testing and compliance records should not be disclosed” (82
   Fed. Reg. 45230), and that “confidential commercial or financial information and law
17. 25 U.S.C. § 2710(b)(1)(B)
18. 25 U.S.C. § 2710(b)(2)(C)
19. 25 U.S.C. § 2710(b)(2)(C)
20. 82 Fed. Reg. 45,230 (Sept. 28, 2017) (to be codified at 25 C.F.R. pt. 547)


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 enforcement information exceptions to FOIA preclude the release of such information.”
 82 Fed. Reg. 45231. But, these aspirational statements would be unnecessary if the
 Proposed Rule made clear that such records are subject to review but not submission to
 the NIGC. OTGRA hopes that the final rule will provide such clear and certain protection,
 because experience demonstrates at both the state and federal level that the recipients
 of such information cannot always protect that information from disclosure once it is
 included in an agency’s record, irrespective of the recipient’s stated intention to do so.
It is difficult to imagine how the NIGC might know that any of its regulations are
being followed, much less if they are effectively fulfilling their purpose, if they are
denied access to these “sensitive” records of whether or not gaming machines are
compliant. Already, the NIGC proposes to cede regulatory control of nearly three-
quarters of the machines in the marketplace to the TGRAs unreported oversight. Such
additional protections requested by the OTGRA here would serve to effectively protect
manufacturers from revealing to tribes or the public the very information they might use
to protect themselves.
We also note that the OTGRA has not cited a single bit of evidence in favor of the
proposed regulations that would be of benefit to the public or to the tribes. Every single
benefit from the proposed regulations mentioned here accrues to the manufacturers.
Again, the NIGC’s proposal, supported here by the OTGRA, allows permanent exemptions
to virtually all provisions designed to protect the public, and the only beneficiaries are
certain manufacturers with Grandfathered machines that evidently control this entire
industry.




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In summary, the OTGRA woefully misconstrues both the facts and the regulations, and
thus mistakenly believes that they must support the NIGC’s proposal to cede virtually
all authority over its own regulations, because they have been convinced that it is the
tribes that will bear the burden of compliance to the regulations. The truth is that it
is certain manufacturers with Grandfathered machines, not the tribes, that must take
responsibility to ensure that the machines they are providing are safe and secure.
These manufacturers may claim this fundamental duty is a burden, an impossible
task, but it is their responsibility to see it done. To the best of our knowledge, all Class
II manufacturers have released new, compliant games since 2008. They have the
expertise, knowledge, and capacity to comply.
It is time for the tribes to act as one and demand that no manufacturer be permitted to
give any tribe a dangerous, vulnerable machine ever again.




                                                     Richard Dreitzer
                                                     The Coalition for Fair Gaming




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Chairperson:        Kelly Myers                                                  Secretary:          Traci Atkinson
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                                                November 12, 2017



       Jonodev Chaudhuri, Chairman
       National Indian Gaming Commission                     Via Electronic & U.S. Mail
       1849 C Street Northwest
       Washington, D.C. 20240


       ATTN: 547.5_Comments@nigc.gov

       Re:     Proposed Rule, 82 Fed. Reg. 45228-45233 (September 28, 2017)
               Amending 25 C.F.R. 547.5
               2008 Class II Gaming Systems


       Dear Chairman Chaudhuri:

  ¶1 The Oklahoma Tribal Gaming Regulators Association (OTGRA) is a professional association of Tribal
       gaming regulators in the state of Oklahoma. OTGRA’s mission is to support and promote knowledge and
       education in tribal gaming regulation, to share information among its members regarding important
       regulatory issues, and to provide technical support to its member regulators in order to ensure best
       regulatory practices under Tribal gaming laws and regulations, the Indian Gaming Regulatory Act, the
       National Indian Gaming Commission (NIGC) Regulations, and the Oklahoma Tribal Gaming Compacts. In
       this capacity, OTGRA has been closely engaged with member regulators and the NIGC regarding the
       status of Class II Gaming Systems that were in operation when the NIGC Technical Standards were
       implemented, and which have been grandfathered under 25 C.F.R. 547.5 until a sunset of November 10,
       2018 (Class II Systems). Specifically, this letter provides comments on the NIGC’s Proposed Rule
       published on September 28, 2017 (82 Fed. Reg. 187, Sept. 28, 2017) (the Proposed Rule) and follows up
       on and supplements OTGRA’s May 10, 2017 letter to you on this topic and its July 26, 2017 letter
       providing further comment on the Discussion Draft of proposed amendments to the Class II System
       technical standards that the NIGC issued on June 14, 2017. The NIGC requested that comments on the
       Proposed Rule be submitted by November 13, 2017.

  ¶2 OTGRA thanks NIGC for the opportunity to comment on the Proposed Rule. The effective regulation of
       Indian Gaming, and the success of the Indian Gaming industry is best served by the kind of government-
       to-government consultation that the NIGC has engaged in with the affected Tribes. In furtherance of
       that consultation, OTGRA offers the following substantive comments on the Proposed Rule.


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 ¶3 First, OTGRA welcomes the consolidation of “grandfathering” provisions and the elimination of the
    sunset provision in Subsection (a) of the Proposed Rule. As the NIGC notes in addressing comments on
    the Discussion Draft (82 Fed. Reg. 45,229), “the technical standards are intended to ensure the integrity
    and security of Class II gaming and the accountability of Class II gaming revenues. OTGRA concurs, and
    observes that eliminating the sunset provision recognizes that, over the 10-year grandfather period, no
    compliance issues or incidents have been reported. Further, many, if not all, of the Class II Systems in
    operation today have been subject to system modifications under the provisions of the Class II technical
    standards, which allow for modifications designed to maintain or to advance the overall compliance and
    integrity of these systems. So, under the rigorous oversight of our member regulators, the previously-
    grandfathered Class II Systems have improved their performance and compliance over time. The
    Proposed Rule, therefore, achieves the intent of the technical standards of “providing a means for
    TGRA’s and operators to ensure that the integrity and security of Class II games played with technologic
    aides are maintained and that the games and aids are fully auditable.” 73 Fed. Reg. 60,508, 60,509 (Oct.
    10, 2008), while recognizing important role of our member regulators.

 ¶4 The amendment to Subsection (a) also appropriately balances the regulatory performance of these
    systems and the rigorous regulatory oversight of our member regulators with the enormous potential
    economic impact of eliminating these systems, which total approximately 24,000 Class II Systems
    currently in operation, collectively comprising and estimated 41% of total units in play. The Proposed
    Rule achieves the NIGC’s goal of seeking a “potential alternative that minimizes both the economic
    impact of the sunset provision and the risk to the gaming operation and the public of systems that are
    not compliant with the full set of technical standards.” The NIGC states that it “understand[s]…concerns
    over removing non-compliant Class II Gaming Systems from the gaming floor.” 87 FR 45229. However,
    OTGRA observes that this response appears not to fully capture the potential adverse impact that would
    have resulted from removing what have indisputably been compliant Class II Gaming Systems from the
    gaming floor in the absence of any evidence of integrity or performance issues.

 ¶5 With respect to annual audit requirements, OTGRA notes that the Proposed Rule subjects Class II
    Gaming Systems to compliance auditing that exceeds the industry standards for rolling compliance
    testing for all other gaming devices by a magnitude of 10. OTGRA believes that this treatment is
    inconsistent with the NIGC’s determination to remove the “grandfathered” label from Class II Systems
    and to eliminate the sunset provision, which is a recognition that these Systems are compliant. As our
    May 10, 2017 and July 26, 2017 comments indicate, OTGRA believes that audit requirements for these
    systems should be subject to, among other things, a minimum rolling compliance certification of 10% of
    the electronic layer interfaces in operation at each facility where a Tribe has Class II Gaming Systems in
    operation. The Proposed Rule’s annual testing and certification of pre-November 10, 2008 Class II
    Gaming Systems is a significant additional administrative burden imposed on TGRAs, and maintains
    547.5 as the only section of the technical standards in which TGRAs are not the primary regulatory of
    gaming. Nevertheless, OTGRA appreciates the clarification at 547.5(a)(3) that this audit requirement
    will not apply to Class II gaming systems that TGRAs have determined meet all of the requirements of
    547.5, and is confident that OTGRA members will meet this responsibility fully and completely, and will
    continue to regulate Indian Gaming in Oklahoma with the very highest level of professionalism. OTGRA
    will, in turn, fulfill its role to assist its member regulators in meeting these requirements through
    education and information sharing regarding best regulatory practices.
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 ¶6 Finally, OTGRA observes that the Proposed Rule continues to hedge on a clear statement that sensitive,
    confidential and proprietary information should be made available to but not turned over to the NIGC.
    The NIGC comments that “the Commission agrees that sensitive testing and compliance records should
    not be disclosed” (82 Fed. Reg. 45230), and that “confidential commercial or financial information and
    law enforcement information exceptions to FOIA preclude the release of such information.” 82 Fed.
    Reg. 45231. But, these aspirational statements would be unnecessary if the Proposed Rule made clear
    that such records are subject to review but not submission to the NIGC. OTGRA hopes that the final rule
    will provide such clear and certain protection, because experience demonstrates at both the state and
    federal level that the recipients of such information cannot always protect that information from
    disclosure once it is included in an agency’s record, irrespective of the recipient’s stated intention to do
    so.

 ¶7 OTGRA hopes that these comments are helpful to the NIGC and offers them with all due respect and,
    again, OTGRA offers its thanks to the NIGC for its engagement with Tribal regulators on this important
    issue. If you have any questions, please feel free to contact me at Kelly-Myers@Cherokee.org and/or
    (918) 207-4914 or OTGRA legal counsel, Joseph F. Halloran at jhalloran@thejacobsonlawgroup.com
    and/or (651) 644-4710.

    Respectfully,




    Kelly Myers, Chairwoman



    cc.     OTGRA Board Members
            Joseph F. Halloran




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